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                IN THE UNITED STATES DISTRICT COURT FOR THE
                     EASTERN DISTRICT OF PENNSYLVANIA

CARLOS VEGA                                  :         CIVIL ACTION
                                             :
                                  Plaintiff, :         NO. 19-4039
                     v.                      :
                                             :         JURY TRIAL DEMANDED
CITY OF PHILADELPHIA                         :
                                             :
                                  Defendant. :

        PLAINTIFF CARLOS VEGA’S UPDATED PRETRIAL MEMORANDUM

      Plaintiff, Carlos Vega, files this Updated Pretrial Memorandum pursuant to Local

Rule of Civil Procedure 16.1(c) and the Court’s Jury Trial Notice:

I.    NATURE OF ACTION AND BASIS FOR JURISDICTION

      Plaintiff, Carlos Vega, brings this age discrimination action against his former

employer, the City of Philadelphia (“City”).1 On January 5, 2018, the City, through the

actions of its newly-elected District Attorney, Mr. Krasner, terminated Mr. Vega’s

employment because of his age. The action is brought pursuant to the Age

Discrimination in Employment Act of 1967, 29 U.S.C. §621 et seq. (“ADEA”), and the

Pennsylvania Human Relations Act, 43 P.S. §951 et seq. (“PHRA”). The Court has

jurisdiction over the ADEA claim pursuant to 28 U.S.C. §1331 and 29 U.S.C. §626(c)(1),

and supplemental jurisdiction over the PHRA claim pursuant to 28 U.S.C. §1367(a).




1 The claims of Mr. Vega’s co-plaintiff, Joseph Whitehead, Jr., have been settled. In
addition, the parties have stipulated to the dismissal of Mr. Vega’s claim against the
individual defendant, Lawrence Krasner.
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II.   SUMMARY OF FACTS SUPPORTING PLAINTIFF VEGA’S CLAIMS

      Mr. Vega had a long, successful and distinguished career with the City as a

prosecutor at the District Attorney’s Office (“DAO”). He was employed by the City from

1982 until January 2018, at which time his age was 61.

      From 1987 until his employment was terminated, Mr. Vega was assigned to the

DAO’s Homicide Unit, where he worked as a homicide prosecutor. In that role, Mr.

Vega did exemplary work on behalf of the public and enjoyed a stellar reputation. He

was respected and admired by his colleagues, supervisors, peers, members of the

criminal defense bar, and judges. In addition, he was chosen by his superiors to handle

many of the most complex, difficult and brutal homicide cases, and he served as a

mentor to many young prosecutors. A true credit to the legal profession, Mr. Vega was

a dedicated public servant who devoted his career to promoting the administration of

criminal justice. Mr. Vega consistently received outstanding performance appraisals

from his supervisors.

      In February of 2017, Mr. Krasner, a long-time criminal defense lawyer,

announced his candidacy for DA of the City, running under a progressive agenda.

When Mr. Krasner won the Democratic primary for DA in May 2017, it was a foregone

conclusion that he would be elected DA in November 2017. Between May 2017 and

October 2017, with the election approaching, Mr. Krasner made a series of public

statements that reflected his bias towards and stereotypical views of older career

prosecutors who had worked in the DAO for decades. Mr. Krasner’s public remarks

also revealed his strong preference for and favoritism of young prosecutors. Mr.

Krasner publicly touted the generalization that older prosecutors at the DAO were too



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rigid and set in their ways to accept his policies, and that young prosecutors would

enthusiastically support his agenda. In his deposition, Mr. Krasner admitted that he

made the public statements attributed to him.2

       The following are examples of Mr. Krasner’s pre-election discriminatory

pronouncements:

       ● In an interview he gave to The Intercept on May 16, 2017, Mr. Krasner

asserted that there were “people [in the DAO] who are going to be made to leave

because you cannot bring about real change and leave people in place who are going

to fight change every step of the way,” and that “[t]he ones who will leave will tend to be

my generation, people who started in this business 30 years ago[.]” Mr. Krasner went

on to proclaim in the interview that “the office will become a tremendous magnet for new

talent, because there are a ton of people who are either coming out of law school or

who are mid-career who would love to work in a truly progressive DA’s office but haven’t

been able to find any.” He further stated in the interview that “there are a lot of just

malleable, mostly younger attorneys who did what they were told, and always wanted to

do the right thing, and with proper training will do the right thing.”

       ● In an interview he gave to Jacobin radio on October 7, 2017, Mr. Krasner once

again engaged in typecasting of young and old prosecutors. He advocated that “there

is no question that the old guard in that office [referring to the DAO] is in control and the

old guard in that office is not desiring change at all,” and that “that crowd needs to go”

and “to get out of the way” so that “people who are sophisticated and modern and



2 Mr. Vega had never exhibited any intent or inclination to impede or object to policies
that were implemented by each DA for whom he worked during his long career. He was
a loyal employee who did what was asked of him without complaint or resistance.
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understanding of the mistakes that have been made in the last 50 years [can] run the

show.”

         ● In an interview he gave to WHYY radio on October 24, 2017, Mr. Krasner

predicted that he would have “broad support among a lot of younger ADAs.” He also

stated that, in contrast to the “younger ADAs,” “there are some people in there whose

vision for a DA’s office is so entrenched that they are unwilling to embrace a new one,”

and they “will be better served working somewhere else.” Later in the interview, Mr.

Krasner spoke in more generalities when he emphasized that he “expect[ed] to have

very broad support among the vast majority of the young prosecutors who are in there”

and that it was “more of a generational issue as I see it.”

         On November 7, 2017, Mr. Krasner won the election for DA, and on January 2,

2018, he was sworn into office. Thereafter, he wasted little time implementing his

publicly announced plan to expel from the DAO older, long-tenured career prosecutors,

based on his discriminatory supposition that they were too inflexible and unyielding to

abide by his policies. On January 5, 2018, Mr. Krasner, as the City’s decisionmaker,

directed that 30 of the 300 attorneys at the DAO, including Mr. Vega, be informed that

he was demanding their resignations that day, and that they would be dismissed if they

did not resign. Of the 30 attorneys on Mr. Krasner’s termination list, 20 were within the

protected age group (over the age of 40), and 11 (including Mr. Vega) were above the

age of 50. Mr. Krasner knew that Mr. Vega had a decades-long career as a prosecutor

for the City. The City’s HR department did nothing to prevent Mr. Krasner from basing

his termination decisions on age.




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       Pursuant to Mr. Krasner’s directive, Mr. Vega was informed by the City on

January 5, 2018 that Mr. Krasner wanted him to resign. When Mr. Vega refused to

tender his resignation, he was instructed by the City to clear out his office and leave the

building. Mr. Vega was given no reason or explanation for Mr. Krasner’s decision. Nor

did Mr. Krasner document any reason for his decision. In addition, Mr. Krasner never

looked at Mr. Vega’s personnel file, which included the performance appraisals which

documented his superior performance, nor did he speak with any of Mr. Vega’s

supervisors at the DAO regarding Mr. Vega’s performance. If asked, the supervisors

would have strongly supported Mr. Vega and told Mr. Krasner that Mr. Vega was a key

contributor who should not be let go.3

       When Mr. Vega was pushed out, the City, through Mr. Krasner, retained many

substantially younger prosecutors in the Homicide Unit who lacked Mr. Vega’s skills,

experience or qualifications. Many of those young lawyers, mostly in their 30s, had

been mentored or trained by Mr. Vega. In addition, consistent with his affinity for youth,

from July 2018 to September 2019, Mr. Krasner recruited and hired 138 lawyers to work

for him in the DAO, 127 of whom were under the age of 40, and 88 of whom were

between the ages of 25 and 30.4




3 Mr. Krasner did not speak to the Chief or the Assistant Chief of the Homicide Unit, who
were Mr. Vega’s supervisors at and prior to the time that Mr. Krasner made his decision
to demand Mr. Vega’s resignation. Although the Chief and Assistant Chief were not on
the termination list, Mr. Krasner did not solicit their opinions of Mr. Vega’s work as a
prosecutor.
4 Early in 2018, Mr. Krasner hired a number of older lawyers known to him from his
private law practice to work for him in the DAO. Those lawyers were brought in mainly
to fill managerial and policymaking roles, and not as line prosecutors (the role Mr. Vega
had).
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       Mr. Krasner continued to broadcast discriminatory remarks about older

prosecutors after he was sworn into office. In his deposition, he acknowledged making

the comments attributed to him. In an interview he gave to WBUR radio on April 18,

2018, Mr. Krasner trumpeted that “the younger generation” had “grown up with an

understanding that mass incarceration is not only a huge problem for a society that

claims to be free, but it’s also racist,” and that for “[s]ome of the older [prosecutors]. . .

it’s hard to look back on your career and think that you were doing a good thing by

stuffing so many people of color in jail.” Mr. Krasner’s branding of older, career

prosecutors as “racists” was particularly offensive to Mr. Vega given that he is a Latino

who was frequently the voice for people of color who were murdered, as well as their

surviving family members.

       Further proof of Mr. Krasner’s age-related animus and favoritism of young

prosecutors surfaced in a podcast interview he gave on May 25, 2018, when he

professed that after he “got that core group to move on” from the DAO, “we found that

among the younger attorneys there was a whole lot of excitement and interest because

they have heard of ‘mass incarceration.’” Mr. Krasner further stated in the podcast

interview that there was a “[f]ascinating generational dynamic” in place, in that “younger

people are a lot more cognizant of the reality of the racist system” than “more senior

attorneys, whose training had been done in a certain way.” Mr. Krasner gave another

podcast interview in December 2018, where he announced that “[w]e want [the DAO] to

be the destination district attorney’s office for young, progressive talent, who really want

to see a change in the criminal justice system,” and that “we need to leave discretion in




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the hands of the next generations coming up, because they’re going to do a lot with that

discretion to make things better, until the old people who write the laws catch up.”

       Mr. Krasner’s public utterances made during his first year in office lend further

support to Mr. Vega’s claim that Mr. Krasner targeted him for termination because of his

age. As the Court determined in denying the City’s motion for summary judgment in the

related case of Seidner v. City of Philadelphia, et al, Civil Action No. 19-4338 (E.D.Pa.),

“the recurring nature of Mr. Krasner’s comments across a span of more than a year

surrounding the terminations is a point that a jury could reasonably weigh against

believing Mr. Krasner’s alternate non-discriminatory justifications.” See Memorandum,

9/14/2021 at p. 9 (emphasis in original).

Reasons Asserted by Mr. Krasner to the PHRC

       In June 2018, Mr. Vega filed a complaint of age discrimination with the

Pennsylvania Human Relations Commission (“PHRC”). In response to that filing, Mr.

Krasner was asked by the PHRC to provide a verified statement “explaining in his . . .

own words the specific reasons for his decision” to terminate Mr. Vega’s employment.

On December 12, 2018, Mr. Krasner provided a verified statement to the PHRC, in

which he asserted that “as a practicing civil rights and criminal defense attorney in

Philadelphia since 1987, I had been able to conduct what essentially amounted to a

thirty-year job interview of [Mr. Vega], during which I had extensive opportunities to

observe and assess [his] professional competence, demeanor, and ethics.” Mr. Krasner

went on to state in the verified statement that before making his final decision, he

“supplemented [his] own observations . . . with those of other people knowledgeable in

the court system who had relevant professional interactions with DAO staff or had



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information about them.” Not only did Mr. Krasner fail to provide the PHRC with

“specific reasons” for his decision, but the general reasons he offered in the verified

statement are untrue. In the entire 30-year period mentioned in the verified statement,

Mr. Krasner only had one case against Mr. Vega: the Scott/Muhammed triple homicide

case. Mr. Krasner therefore had no “extensive opportunities to observe and assess” Mr.

Vega over three decades, or to conduct a “thirty-year job interview.” Furthermore, while

Mr. Krasner failed to identify in the verified statement any individual in the court system

with whom he consulted regarding Mr. Vega before making his final decision, he later

acknowledged in his deposition that he did not discuss Mr. Vega with any of Mr. Vega’s

supervisors at the DAO, and that the only individual with whom he could recall having a

discussion about Mr. Vega before he finalized the decision was his long-time friend,

mentor and “trusted advisor,” Michael Giampietro, who became Mr. Krasner’s senior

advisor at the DAO. Mr. Giampietro, who had many trials and professional interactions

with Mr. Vega over the years, urged Mr. Krasner to retain Mr. Vega.

Reasons Subsequently Asserted by Mr. Krasner in his Deposition

       In his deposition, taken nearly two years after he had submitted the PHRC

verified statement, Mr. Krasner reversed course, testifying that he based his decision to

terminate Mr. Vega’s employment on what he claimed was Mr. Vega’s unethical and

inappropriate conduct in the one case he ever tried against Mr. Vega:

Scott/Muhammed. This defense was subsequently repeated in Defendants’ Motion for

Summary Judgment and again in their initial Pretrial Memorandum. It was not




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mentioned by Mr. Krasner to the PHRC or to Mr. Vega when his employment was

terminated.5

         By way of background, Scott/Muhammed was a gruesome case involving the

cold-blooded murders of three family members in a convenience store (“bodega”) that

they owned. The murders were perpetrated in the presence of two young girls who

were the victims’ relatives. Muhammed was represented by Mr. Krasner (along with

Anthony Voci, Esq.) and Scott by Jack McMahon, Esq. Mr. Vega was the lead

prosecutor. In his deposition, Mr. Krasner acknowledged that the Scott/Muhammed

case was “excruciating”, “horrifying”, and “was considered by many to be the most likely

death verdict in Pennsylvania that year [2016].” A jury trial was conducted before the

Honorable Glen Bronson (the “Trial Judge”) in late 2016. At the conclusion of the

liability phase of the trial, the jury convicted Muhammed and Scott of three counts of

first-degree murder, as a result of which they faced either life imprisonment or the death

penalty. At the end of the penalty phase of the trial, the trial judge sentenced both

defendants to life imprisonment. The convictions and sentences were affirmed by the

Trial Judge and the Superior Court of Pennsylvania. Mr. Vega was not sanctioned or

reprimanded by the Trial Judge for anything he did or failed to do during the trial, and all

claims of prosecutorial misconduct were rejected by the Trial Judge and the Superior




5   Defendants stated the following in their first Pretrial Memorandum:

         Mr. Krasner’s negative opinions regarding Mr. Vega’s ethics and
         trustworthiness were established during the Scott/Muhammed case,
         and formed the basis for his decision to terminate Mr. Vega.

See Def. Pret. Mem., 11/23/2020 at p. 4 (Doc. No. 41).


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Court. Mr. Krasner’s claim, asserted for the first time in his deposition, that Mr. Vega’s

conduct in the Scott/Muhammed case provided a valid and legitimate reason for

terminating Mr. Vega’s employment, is a pretext for age discrimination.6

       As an initial matter, Mr. Krasner testified that Mr. Vega behaved in a petty and

abusive manner during pretrial discovery in the Scott/Muhammed case, making it

difficult for the defense to obtain copies of discovery materials. In fact, Mr. Vega

produced nine boxes of documents to Mr. Krasner, and although Mr. Krasner received

all of the documents well in advance of the trial, he only used one or two of the

documents at trial. Furthermore, any delay in production was not the fault of Mr. Vega.

The documents had to be copied at the DAO, which could not relinquish control of the

originals. The Homicide Unit had only one copy machine, and all attorneys and staff

members assigned to the unit had to share it. Because the documents were of varying

size and texture, and many were double-sided, many of them could not be fed into the

copy machine for rapid copying but had to be placed on top of the glass for individual

copying. Times had to be arranged for the copying based upon the availability of Mr.

Krasner’s employees, who did the copying at the DAO in stages over a period of time,

under the supervision of DAO paralegals. Mr. Krasner’s staff could not monopolize the

copier because so many other people had to use it. Mr. Vega had a very limited role,

and the copying project was completed in time for all of the documents to be produced



6The change in Mr. Krasner’s story from his 2018 PHRC verified statement to his 2020
deposition testimony can enable the jury to find pretext. See Sorba v. Pa. Drilling Co.,
821 F.2d 200, 205 (3d Cir. 1987); Abramson v. William Paterson Coll. of N.J., 260 F.3d
265, 284 (3d Cir. 2001). In addition, a trier of fact can find pretext where the core facts
put forward by the employer as its legitimate nondiscriminatory reason are shown to be
untrue. Tomasso v. Boeing Co., 445 F.3d 702, 706 (3d Cir. 2006).


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to the defense team sufficiently in advance of the trial so that there was no harm or

prejudice. Furthermore, Mr. Krasner never complained to the Trial Judge about a delay

in the copying or production.

       Mr. Krasner testified in his deposition that during the Scott/Muhammed trial, he

witnessed Mr. Vega sexually harass Mr. McMahon’s paralegal in the courtroom. Mr.

Krasner emphasized that this played a major role in his decision to terminate Mr. Vega’s

employment. According to Mr. Krasner, he saw and heard Mr. Vega say to the

paralegal during a break in the trial, “I can’t wait to get you in the orgasmic glow.” This

is a fabrication. Mr. Vega did not say this or anything like it to the paralegal, and he did

nothing that was improper, abusive, or sexual when he interacted with the paralegal.

The jury could reasonably find that Mr. Krasner concocted the claim of sexual

harassment, long after he had discharged Mr. Vega, as a pretext to conceal his true

motive to expel Mr. Vega because of his age.7

       Mr. Krasner went on to testify in his deposition that on December 13, 2016,

during the Scott/Muhammed trial, Mr. Vega engaged in inappropriate ex parte

communications with two defense witnesses (the “Witnesses”) before they took the

stand, where he encouraged the Witnesses to change their stories so that they would

identify Muhammed as the perpetrator of a robbery at another bodega;8 that after



7 Mr. Krasner did not report Mr. Vega’s alleged sexual harassment of the paralegal to
the Disciplinary Board, the Trial Judge, or any of Mr. Vega’s supervisors. Also, he failed
to mention anything about sexual harassment in his verified statement to the PHRC.
8 One defense theory was that the robber of the other store also committed the
murders, and that when the Witnesses had identified the robber of the other store to the
police years before, on the night of the robbery, their identifications did not match a
description of Muhammed.


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meeting with the Witnesses at the courthouse on December 13, 2016, Mr. Vega

asserted that the Witnesses would testify that they were now able to identify

Muhammed as the robber of the other store; that in making this assertion, Mr. Vega

reneged on an agreement he had made that he would not present identification

testimony from the Witnesses; and that after meeting with the Witnesses on December

13, 2016, Mr. Vega misrepresented to the Trial Judge that he had met with them in the

presence of a detective.

      Mr. Krasner’s testimony will be discredited. On December 13, 2016, before the

Witnesses were called to testify for the defense, Mr. Vega had the same right to meet

with them in the courthouse as did the defense team. Although the Witnesses had

stated years before the murder trial that they were unable to identify Muhammed as the

robber of the other store, they told Mr. Vega when he talked to them in court on

December 13, 2016, much to Mr. Vega’s surprise, that they were now able to identify

Muhammed as the robber of the other store, based on internet research they had

recently done. Given this unexpected change in circumstances, and to prevent unfair

surprise, Mr. Vega promptly informed the Trial Judge and defense counsel that the

Witnesses could identify Muhammed as the robber of the other store. This disclosure

by Mr. Vega allowed the Trial Judge to consider the arguments of counsel and to make

a ruling on the scope of the Witnesses’ testimony before they were called to the stand.9

After hearing the arguments of counsel, the Trial Judge ruled that the limited probative



9 Mr. Vega never attempted to influence the testimony of the Witnesses, to convince
them to change their story, or – as Mr. Krasner has falsely asserted – to encourage
them leave the courthouse if they were precluded from identifying Muhammed as the
robber of the other store.


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value of the Witnesses’ testimony that they were able to identify Muhammed as the

robber of the other store, based upon their recent internet searches conducted years

after the other robbery was committed, was outweighed by the prejudice it would cause

to the defense. The Witnesses were therefore precluded by the Trial Judge from

identifying Muhammed as the robber of the other store when they testified for the

defense at the murder trial, as a result of which the defense suffered no harm or

prejudice. On the other hand, on direct examination of the Witnesses at the murder

trial, Mr. Krasner and Mr. McMahon were allowed to elicit from the Witnesses testimony

that was advantageous to the defense: that their identification of the robber of the other

store in statements they had given to the police on the night of the robbery did not

match a description of Muhammed. Still, the jury convicted Muhammed of the

murders.10

       As to whether or not Mr. Vega reneged on an agreement not to have the

witnesses identify Muhammed at the murder trial, the Trial Judge found there was a

“misunderstanding,” noting that nothing had been confirmed in writing.

       Mr. Krasner also testified in his deposition that Mr. Vega failed to turn over, in a

timely manner, crucial evidence relevant to the mitigation (penalty) phase of the

Scott/Muhammed trial, by which time it was too late for Mr. Krasner to use the evidence.

This is untrue. The record reflects that when Mr. Krasner informed the Trial Judge right




10Prior to the Witnesses’ testimony on December 13, 2016, defense counsel accused
Mr. Vega of falsely informing the Trial Judge that he had a detective with him when he
had spoken to one of the Witnesses that day. Mr. Vega and his co-counsel, Mr.
Handrich, clarified for the Trial Judge that Mr. Vega was referring to discussions he had
had with the Witness years before the trial, and that on December 13, 2016, Mr. Vega
had met with the Witnesses with no detective present.
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before the penalty phase of the trial began that he had recently learned that Muhammed

had been raped as a young child, Mr. Vega agreed to stipulate to that fact. Mr. Vega

also agreed to stipulate to other facts that were helpful to Muhammed’s mitigation

defense, and the stipulations were read to the jury. At the end of the penalty phase, the

jury did not vote to sentence Muhammed to death, as a result of which a mandatory

sentence of life imprisonment was imposed. Muhammed therefore suffered no

disadvantage as a result of the timing of the prosecution’s disclosure of evidence

related to mitigation. On the other hand, the defense was aided in the penalty phase by

Mr. Vega’s stipulations.

III.   SUMMARY OF PLAINTIFF VEGA’S MONETARY DAMAGES

       Mr. Vega’s economic losses have been calculated by his damages expert to be

approximately $623,096. This figure includes lost wages from January 2018 through

November 2021; loss of the value of benefits under the City’s DROP program; and loss

of the value of employer-provided health benefits.

       As background, in February of 2016, Mr. Vega applied for enrollment in the City’s

DROP program. In doing so, he agreed unconditionally to voluntarily retire from his

employment with the City in November 2021 (four years after November 2017), in

exchange for receiving a lump sum payment at the time of his retirement in the amount

of approximately $485,000. When a City employee enters the DROP program, their

pension is frozen and their monthly pension benefits are paid into a DROP account so

that a lump sum, including accrued interest, is paid at the time of the agreed upon

retirement date. In Mr. Vega’s case, he agreed that his monthly benefits would be

deposited into an interest-bearing account from November 2017 until the time of his



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retirement in November 2021, at which time he would receive the lump sum payment

with interest. It was also understood that Mr. Vega would continue working for the City

and receiving his regular salary until November 2021.

      When his employment was terminated by the City in January 2018, Mr. Vega

was earning an annual salary of $143,000. Notwithstanding reasonable efforts he made

to mitigate his economic losses by attempting to find comparable or substantially

equivalent employment as a prosecutor for the last few years of his career, Mr. Vega

was not offered a job, and he was unemployed and earned no employment-related

income from January 2018 through November 2021 (and none thereafter). Mr. Vega’s

damages expert has determined, based upon Mr. Vega’s historical earnings from the

City, that from January 2018 through November 2021 (his expected retirement date

from the City), he suffered a loss of income (back pay) in the amount of $548,977. This

is the total amount he probably would have earned from the City during that 46-month

period had his employment not been terminated.

      When Mr. Vega was forced out of his job with the City in January 2018, a total of

$16,626 had accumulated in his DROP account. Mr. Vega was paid that amount in

February 2018 because as a DROP participant, he was compelled to retire from the City

at that time. In lieu of receiving a lump sum DROP payment of approximately $485,000

in November 2021, Mr. Vega received monthly pension benefits of $9,394 from the City

from February 2018 to November 2021, with those payments totaling $420,851.

Because the monthly pension benefits did not include interest, when the payment of

$16,626 and the pension benefits of $420,851 that Mr. Vega received are subtracted

from the lump sum DROP payment of $485,000 that he would have received had he



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been allowed to retire from the City in November 2021, there is an additional economic

loss (back pay) of $47,523.

        Had Mr. Vega’s employment not been terminated by the City in January 2018, he

would have been eligible to receive health insurance benefits from the City for five years

commencing in November 2021 (his expected retirement date). As a result of the

termination of his employment in January 2018, and to protect his and his family’s

health benefits, Mr. Vega had to take this five-year benefit as of February 2018. Due to

his forced early retirement, these health benefits will be exhausted in January 2023,

rather than in November 2026. This has resulted in an additional loss to Mr. Vega of

3.8 years’ worth of health benefits (front pay) which according to his expert has a value

of $26,596.

        Because Mr. Vega is claiming that the City’s violations of the ADEA were willful,

he seeks liquidated damages under the ADEA in an amount equal to his total back pay

award.

        Mr. Vega seeks compensatory damages under the PHRA, in an amount to be

determined by the trier of fact, for pain and suffering, mental anguish, emotional

distress, anxiety, loss of self-esteem and self-confidence, embarrassment, humiliation,

and harm to his reputation resulting from the termination of his employment with the

City.

        Mr. Vega also seeks an award of attorney’s fees and costs pursuant to the ADEA

and the PHRA.




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IV.    PLAINTIFF VEGA’S WITNESS LIST


           Name                    Present or last known               Subject(s)
                                         address

 Carlos Vega, Esq.             2216 S. Bancroft St.,             Liability and damages
                               Philadelphia, PA 19145

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 Jennifer Selber, Esq.         Pennsylvania Office of Attorney   Liability
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                               Strawberry Square
                               Harrisburg, PA 17120

 Edward F. McCann, Jr.,        Montgomery County District        Liability
 Esq.                          Attorney’s Office
                               Norristown, PA 19403

 Ann Ponterio, Esq.            8412 Shawnee Street               Liability
                               Philadelphia, PA 19118

 Charles F. Gallagher, III,    610 Hendren Street                Liability
 Esq.                          Philadelphia, PA 19128


 John P. Delaney, Jr., Esq.    Archdiocese of Philadelphia       Liability
                               222 N. 17th Street
                               Philadelphia, PA 19103

 Andrew C. Verzilli (expert)   411 North Broad Street            Damages
                               Lansdale, PA 19446

 Victoria Power                1037 S. Church Street             Liability
                               Mt. Laurel, NJ 08054

 Olivia Ann Caccoma            3750 Main Street                  Liability
                               Apartment 401
                               Philadelphia, PA 19127



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               Name                     Present or last known                 Subject(s)
                                              address

 Kirk Handrich, Esq.               U.S. Department of Justice           Liability
                                   145 N. Street NE
                                   Washington, DC


           Plaintiff may read into evidence (or play the video) of parts of the deposition of

Lawrence Krasner taken on September 16, 2020, pursuant to Fed.R.Civ.P. 32. Plaintiff

may also read into evidence parts of the deposition of Rachel Mitchell taken on August

28, 2020, pursuant to Rule 32. In addition, or alternatively, Plaintiff reserves the right to

call Mr. Krasner and Ms. Mitchell as live witnesses at trial.

           Plaintiff reserves the right to call any witness identified by the City who does not

appear on Plaintiff’s witness list. Plaintiff also reserves the right to call rebuttal

witnesses.

V.         PLAINTIFF VEGA’S SCHEDULE OF EXHIBITS

     No.                   Description                       Date                   Bates

 P-1         Article published in the Intercept:       5/16/2017           LEVIN161-170;
             “Meet Philadelphia’s Progressive                              MITCHELL-9
             Candidate for DA: An Interview with
             Larry Krasner”

 P-2         Transcription of excerpts of              10/7/2017           MITCHELL-11
             interviews given by Lawrence              10/24/2017
             Krasner to Jacobin radio and WHYY
             radio

 P-3         Link to audio recording of interview      10/7/2017
             given by Lawrence Krasner to
             Jacobin radio

 P-4         Link to audio recording of interview      10/24/2017
             given by Lawrence Krasner to WHYY
             radio


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No.                   Description                     Date           Bates

P-5     Link to audio recording of interview      10/24/2017
        given by Lawrence Krasner to WURD
        radio

P-6     Article published by WBUR “Here &         4/18/2018    WHITEHEAD 011-
        Now”: “Philadelphia DA Wants to                        020; PK-000090-
        Dismantle Mass Incarceration from                      00099
        the Inside Out

P-7     Link to audio recording of interview      4/18/2018
        given by Lawrence Krasner to WBUR
        radio

P-8     Link to video/audio recording of          5/4/2018
        roundtable discussion in which
        Lawrence Krasner participated

P-9     Link to podcast of interview given by     5/25/2018
        Lawrence Krasner to The Voice of
        San Diego

P-10    Transcript of podcast interview of        12/2018      MITCHELL-10
        Lawrence Krasner published by
        Center for Court Intervention:
        “Prosecutor Power No. 6: Larry
        Krasner, the Antagonist”

P-11    Clips from audio recordings of            10/7/2017    PV-000131 (disc
        interviews given by Lawrence              10/24/2017   and e-mail with
        Krasner to Jacobin radio, WHYY,           10/24/2017   clips have been
        WURD, WBUR and The Voice of San           4/18/2018    produced)
        Diego                                     5/25/2018

P-12    Memo from Arun Prabhakaran to             1/5/2018     CITY 0413-0414
        Rachel Mitchell re: Separations

P-13    Chart reflecting names, dates of birth, 1/12/2018      CITY 0415-0416
        race, and separation dates of
        employees separated from DAO

P-14    List of employee separations              1/12/2018    CITY 621

P-15    List of retirees                          1/12/2018    CITY 623


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No.                Description                   Date          Bates

P-16   Chart produced by Defendant City in   3/17/2020    PK-00075-00079;
       response to Court Order dated                      MITCHELL-4
       3/2/2020 re: Attorneys appointed to
       DAO between 7/2018 and 9/2019,
       verified by Rachel Mitchell

P-17   Charts produced by Defendant City in 3/17/2020     PK-00073-00074
       response to Court Order dated                      and 00079;
       3/2/2020 reflecting demographic                    MITCHELL-4
       information of attorneys, including
       dates of birth and dates of hire,
       verified by Rachel Mitchell.

P-18   City of Philadelphia Report of        1/8/2018     CITY 006
       Appointment of Lawrence Krasner

P-19   City of Philadelphia Salary Change    12/31/2018   CITY 010
       Order for Lawrence Krasner

P-20   Performance Appraisal of Vega         7/8/1993     CITY 0130

P-21   Performance Appraisal of Vega         6/24/1994    CITY 0129

P-22   Performance Appraisal of Vega         7/31/1997    CITY 0126-0127

P-23   Performance Appraisal of Vega         10/1/1998    CITY 0119-0125

P-24   Performance Appraisal of Vega         3/31/2000    CITY 0113-0118

P-25   Performance Appraisal of Vega         6/17/2002    CITY 0109-0112

P-26   Performance Appraisal of Vega         6/2/2003     CITY 0107-0108

P-27   Performance Appraisal of Vega         6/28/2004    CITY 0608-0610

P-28   Performance Appraisal of Vega         6/30/2005    CITY 0606-0607

P-29   Performance Appraisal of Vega         6/1/2006     CITY 0604-0605

P-30   Performance Appraisal of Vega         6/8/2007     CITY 0602-0603

P-31   Performance Appraisal of Vega         6/16/2008    CITY 0599-0601



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No.                Description                     Date           Bates

P-32   Performance Appraisal of Vega           6/1/2009     CITY 0596-0598

P-33   Performance Appraisal of Vega           6/24/2012    CITY 0593-0595

P-34   Performance Appraisal of Vega           6/14/2013    CITY 0103-0104

P-35   Performance Appraisal of Vega           6/5/2014     CITY 0099-0102

P-36   Performance Appraisal of Vega           5/26/2015    CITY 0096-0098

P-37   Performance Appraisal of Vega           5/26/2016    CITY 0093-0095

P-38   Performance Appraisal of Vega           5/17/2017    CITY 0090-0092

P-39   Letters from DA Lynne Abraham to        12/19/1997   CITY 0072, 0070,
       Vega re: Merit increases                6/6/2000     0068, 0066
                                               11/5/2007
                                               9/15/2008

P-40   Vega’s DROP Application with            2/1/2016     PV-000002-000003
       attached printout                       2/5/2016

P-41   Letter from City Board of Pensions      2/9/2016     P-000004-000005
       and Retirement to Vega re: DROP
       with attached spreadsheet

P-42   Letter from Rachel Mitchell to Vega:    1/9/2018     PV-000007-000008
       Separation information

P-43   E-mail from Stephen Martin to Vega      1/12/2018    PV-000009
       re: Pension Application

P-44   E-mail exchange between Stephen         1/12/2018    PV-000010-000011
       Martin, Vega and Michele Ford

P-45   Letter from Michele Ford to Vega        1/12/2018    PV-000012

P-46   Statement of Earnings and               1/19/2018    PV-000013
       Deductions of Vega

P-47   City Employment Record of Vega          1/12/2018    CITY 0417-0419




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No.                Description                      Date            Bates

P-48   City Employee Service History           1/12/2018      CITY 0064
       Record of Vega

P-49   Report of Separation of Vega            1/12/2018      CITY 0046

P-50   Terminal Leave Audit Worksheet for      1/12/2018      CITY 0047-0048
       Separating Employee for Vega with
       attachment

P-51   DROP Distribution Selection Form for    1/9/2018       CITY 0399-0400
       Vega with attached printout             2/11/2018

P-52   Computation of Pension Payable,         1/29/2018 to   CITY 0401-0404
       Municipal Retiree Election              2/1/2018
       Application, Computational
       Worksheet, and Final Compensation
       and Pension Contribution Review re:
       Vega

P-53   Benefit Application of Vega with        1/19/2018      CITY 0405-0406
       attached Employee Service History
       Record

P-54   Survivor Option Election Form of        1/19/2018      CITY 0407-0408
       Vega

P-55   Printouts re: Pension and DROP          12/19/2019     CITY 0410-0412
       Payment History of Vega

P-56   Resumes of Vega                         Undated        PV-000089-000090

P-57   E-mail exchange between Vega,           1/10/2018      PV-000091-000094
       Melissa Piccoli and Brooke Johnson      1/11/2018
       re: open opportunities with resume of
       Vega

P-58   Letters from Vega to Pennsylvania       2/21/2018      PV-000095,
       Attorney General Josh Shapiro           1/8/2019       000099, 000103,
                                               12/4/2019      000142
                                               7/17/2020




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No.                Description                      Date               Bates

P-59   Letters from Vega to Montgomery         7/1/2018          PV-000096
       County District Attorney                1/10/2019         000100, 000104,
                                               12/4/2019         000143
                                               7/17/2020

P-60   Letters from Vega to Chester County     7/1/2018,         PV-000097,
       District Attorney                       1/10/2019,        000101, 000105,
                                               12/4/2019,        000144
                                               7/17/2020

P-61   Letters form Vega to Delaware           7/1/2018,         PV-000098,
       County District Attorney                1/10/2019,        000102, 000106,
                                               12/4/2019,        000145
                                               7/17/2020

P-62   Letters from Vega to Bucks County       12/4/2019         PV-000107,
       District Attorney                       7/17/2020         000141

P-63   Letter from John Delaney to Vega        1/29/2018         PV-000132-000133

P-64   Declaration of John P. Delaney, Jr.     10/21/2020        PV-000227-000233

P-65   Declaration of Ann Ponterio             9/1/2020          PV-000167-000171

P-66   Declaration of Victoria Power           9/30/2020         PV-000172-000173

P-67   Verified Statement of DA Lawrence       12/12/2018        CITY 0170-0172
       Krasner

P-68   Transcript of trial of Commonwealth     12/13/2016
       v. Muhammed and Scott

P-69   Transcript of trial of Commonwealth v   12/22/2016
       Muhammed and Scott

P-70   Transcript of trial of Commonwealth v   12/23/2016
       Muhammed and Scott

P-71   Opinion of Superior Court of            6/11/2019         PV-000193-000221
       Pennsylvania in Commonwealth v          (Superior Court
       Muhammed, 2019 WL 2432100               Opinion)
       (2019), with attached Opinion of        6/12/2017
       Honorable Glenn Bronson


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No.                 Description                      Date          Bates

                                                (Opinion of
                                                Judge
                                                Bronson)

P-72   Opinion of Superior Court of             6/11/2019     PV-000174-000192
       Pennsylvania in Commonwealth v
       Muhammed and Scott, 212 A.3d
       1094, 2019 PA Super 185 (2019)

P-73   Order of Supreme Court of                12/24/2019    PV-000222
       Pennsylvania in Commonwealth v
       Scott, 222 A.3d 383 (2019)

P-74   Defendant City’s Response to             1/23/2020     PM-00021-00028
       Interrogatories of Plaintiff Vega


P-75   Defendant City’s Response to             1/3/2020      PM-00029-00044
       Plaintiff Vega’s Request for
       Production of Documents

P-76   Lawrence Krasner’s Response to           1/3/2020      PK-00021-00029
       Interrogatories of Plaintiff Vega

P-77   Lawrence Krasner’s Response to           1/3/2020      PK-00030-00039
       Plaintiff’s Vega’s Request for
       Production of Documents

P-78   Expert report of Andrew Verzilli         9/17/2020
       attached Tables 1 and 2 and List of
       Documents Reviewed

P-79   Supplemental expert report of            12/16/2021
       Andrew Verzilli with Table 1A

P-80   Curriculum Vitae of Andrew Verzilli      Undated

P-81   Transcript of deposition of Lawrence     9/16/2020
       Krasner (Volume I)

P-82   Transcript of deposition of Lawrence     9/16/2020     `
       Krasner (volume II) with exhibits



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  No.                   Description                          Date               Bates

 P-83     Transcript of deposition of Michael        9/8/2020
          Giampietro

 P-84     Transcript of deposition of Rachel         8/28/2020
          Mitchell with exhibits
 P-85     Video of deposition of Lawrence            9/16/2020
          Krasner

 P-86     Updated economic loss calculation of       10/25/2022
          Andrew Verzilli


        Plaintiff reserves the right to use or offer into evidence:

               (a)    Any exhibits identified by the City;

               (b)    Documents not identified herein for purposes of impeachment or
                      rebuttal; and

               (c)    Demonstrative exhibits.

VI.     STATEMENT OF OBJECTIONS TO DEFENDANT’S PROPOSED EXHIBITS
        BASED UPON REASONS OTHER THAN RELEVANCY

        Plaintiff asserts the following objections to exhibits identified by Defendant in its

Exhibit List, based upon reasons other than relevancy. Pursuant to the Court’s

Scheduling Orders, Policies and Procedures, all relevancy objections are reserved until

trial. Plaintiff will, however, in an abundance of caution, list objections based on Federal

Rule of Evidence 403, in the event the Court should determine that any of the objected-

to exhibits, which Plaintiff believes are irrelevant, have any relevance. Accordingly, by

asserting an objection pursuant to F.R.E. 403, Plaintiff does not concede that the exhibit

is relevant.




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Exhibit         Description               Bates         Objection(s)
 No.

  D2      Answer                                   Hearsay

                                                   F.R.E. 403: unfair
                                                   prejudice, confusing the
                                                   issues, misleading the
                                                   jury, undue delay,
                                                   wasting time

                                                   Conclusions of law

  D8      Defendants’ Response to                  Hearsay
          Plaintiff Vega’s
          Interrogatories                          Plaintiff may use the
                                                   Response to prove
                                                   admissions or for
                                                   impeachment purposes
                                                   but it is improper for a
                                                   party to offer into
                                                   evidence their own
                                                   discovery responses as
                                                   part of their case

                                                   F.R.E. 403: unfair
                                                   prejudice, confusing the
                                                   issues, misleading the
                                                   jury, undue delay,
                                                   wasting time

  D9      Defendants’ Responses to                 Hearsay
          Plaintiff Vega’s
          Interrogatories                          Plaintiff may use the
                                                   document to prove
                                                   admissions or for
                                                   impeachment purposes
                                                   but it is improper for a
                                                   party to offer into
                                                   evidence their own
                                                   discovery responses as
                                                   part of their case

                                                   F.R.E. 403: unfair
                                                   prejudice, confusing the
                                                   issues, misleading the

                                     26
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Exhibit          Description               Bates        Objection(s)
 No.

                                                   jury, undue delay,
                                                   wasting time

 D10      Defendants’ Responses to                 Hearsay
          Plaintiff Vega’s Request
          for Production of                        Plaintiff may use the
          Documents                                Responses to prove
                                                   admissions or for
                                                   impeachment purposes
                                                   but it is improper for a
                                                   party to offer into
                                                   evidence their own
                                                   discovery responses as
                                                   part of their case

                                                   F.R.E. 403: unfair
                                                   prejudice, confusing the
                                                   issues, misleading the
                                                   jury, undue delay,
                                                   wasting time

 D11      Defendants’ Response to                  Hearsay
          Plaintiff Vega’s Second
          Interrogatories                          Plaintiff may use the
                                                   Response to prove
                                                   admissions or for
                                                   impeachment purposes
                                                   but it is improper for a
                                                   party to offer into
                                                   evidence their own
                                                   discovery responses as
                                                   part of their case

                                                   F.R.E. 403: unfair
                                                   prejudice, confusing the
                                                   issues, misleading the
                                                   jury, undue delay,
                                                   wasting time

 D12      Defendants’ Production                   Hearsay
          and Amended Production
          Pursuant to the Pilot                    Plaintiff may use the
          Program Initial Discovery                document to prove

                                      27
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Exhibit         Description                Bates             Objection(s)
 No.

          Protocols for Employment                     admissions or for
          Cases Alleging Adverse                       impeachment purposes
          Action                                       but it is improper for a
                                                       party to offer into
                                                       evidence their own
                                                       discovery responses as
                                                       part of their case

                                                       F.R.E. 403: unfair
                                                       prejudice, confusing the
                                                       issues, misleading the
                                                       jury, undue delay,
                                                       wasting time

 D13      Defendants’ First                            Hearsay
          Production Pursuant to
          Court’s February 20, 2020                    Authenticity
          Orders Show Homicide
          Staff in 2018                                Document not verified

 D15      Vega: Respondents’          CITY 0153-0172   Plaintiff does not object
          Answer to PHRC                               to the admission of the
          Complaint, Position                          Krasner Verified
          Statement, and Krasner                       Statement
          Verified Statement
                                                       As to the other
                                                       documents:

                                                       Hearsay

                                                       Plaintiff may use the
                                                       documents to prove
                                                       admissions or for
                                                       impeachment purposes
                                                       but it is improper for a
                                                       party to offer into
                                                       evidence their own
                                                       PHRC submissions as
                                                       part of their case

                                                       F.R.E. 403: unfair
                                                       prejudice, confusing the
                                                       issues, misleading the

                                      28
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Exhibit          Description              Bates           Objection(s)
 No.

                                                     jury, undue delay,
                                                     wasting time

 D16      Policy Manual              CITY 0192-376   Hearsay

                                                     F.R.E. 403: unfair
                                                     prejudice, confusing the
                                                     issues, misleading the
                                                     jury, wasting time

 D21      Draft letter and           CITY 0423-447   Authenticity
          spreadsheets identifying
          separated employees                        Hearsay
          (redacted)
                                                     F.R.E. 403: unfair
                                                     prejudice, confusing the
                                                     issues, misleading the
                                                     jury, undue delay,
                                                     wasting time

                                                     Document is redacted
                                                     and in draft form

 D22      Spreadsheet summarizing    CITY 0448-462   Hearsay
          attorney positions and
          salaries                                   F.R.E. 403: unfair
                                                     prejudice, confusing the
                                                     issues, misleading the
                                                     jury, undue delay,
                                                     wasting time

 D23      Spreadsheet summarizing    CITY 0463-521   Hearsay
          attorney positions and
          salaries                                   F.R.E. 403: unfair
                                                     prejudice, confusing the
                                                     issues, misleading the
                                                     jury, undue delay,
                                                     wasting time

 D24      Email from A.              CITY 0568-569   Hearsay
          Prabhakaran to J. Rush
          dated 12/14/17                             F.R.E. 403: unfair
                                                     prejudice, confusing the

                                     29
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Exhibit          Description              Bates            Objection(s)
 No.

                                                     issues, misleading the
                                                     jury, undue delay,
                                                     wasting time

 D25      Email from A.              CITY 0570-571   Hearsay
          Prabhakaran to J. Dodd
          and K. Rosenthal dated                     F.R.E. 403: unfair
          12/4/17                                    prejudice, confusing the
                                                     issues, misleading the
                                                     jury, undue delay,
                                                     wasting time

 D26      Email from J. Dodd to K.   CITY 0572-574   Hearsay
          Rosenthal dated 12/15/17
                                                     F.R.E. 403: unfair
                                                     prejudice, confusing the
                                                     issues, misleading the
                                                     jury, undue delay,
                                                     wasting time

 D27      Email from J. Dodd to K.   CITY 0575-577   Hearsay
          Rosenthal dated 12/15/17
                                                     F.R.E. 403: unfair
                                                     prejudice, confusing the
                                                     issues, misleading the
                                                     jury, undue delay,
                                                     wasting time

 D28      Vega Internal Files        CITY 0578-700   Plaintiff objects to
                                                     Bates nos. 635-637,
                                                     641-643, 656-664 and
                                                     700 only. Plaintiff
                                                     does not object to any
                                                     other document in this
                                                     exhibit

                                                     Plaintiff’s objections to
                                                     the above documents
                                                     are based on the
                                                     following grounds:

                                                     Hearsay


                                     30
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Exhibit          Description             Bates             Objection(s)
 No.

                                                     F.R.E. 403: unfair
                                                     prejudice, confusing the
                                                     issues, misleading the
                                                     jury, undue delay,
                                                     wasting time

 D29      Emails between Krasner    CITY_LK_0001-2   Hearsay
          and A. Prabhakaran
          (redacted)                                 F.R.E. 403: unfair
                                                     prejudice, confusing the
                                                     issues, misleading the
                                                     jury, undue delay,
                                                     wasting time

                                                     The document is
                                                     illegible and redacted

 D30      Text messages with        CITY_LK_0006     The Court ruled in
          Krasner                                    granting Plaintiff’s
                                                     Motion in Limine that
                                                     these text messages are
                                                     inadmissible

                                                     Hearsay

                                                     F.R.E. 403: unfair
                                                     prejudice, confusing the
                                                     issues, misleading the
                                                     jury, undue delay,
                                                     wasting time

 D38      Vega Rebuttal to          PV000034-86      This is Plaintiff Vega’s
          Defendants’ Answer to                      PHRC Rebuttal, not
          Whitehead’s PHRC                           Whitehead’s
          Complaint with exhibits
          dated 4/5/2019                             Plaintiff does not object
                                                     to the documents
                                                     attached to the letter

                                                     As to the letter, which
                                                     was prepared by
                                                     Plaintiff Vega’s counsel:


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Exhibit          Description                  Bates            Objection(s)
 No.

                                                          Hearsay

                                                          F.R.E. 403: unfair
                                                          prejudice, confusing the
                                                          issues, misleading the
                                                          jury, undue delay,
                                                          wasting time

 D42      Announcement from A.          PV-000237-238     Authenticity
          Prabhakaran issued in
          January 2018                                    Hearsay

                                                          F.R.E. 403: unfair
                                                          prejudice, confusing the
                                                          issues, misleading the
                                                          jury, undue delay,
                                                          wasting time

 D43      Anderson resentencing         Whitehead-1 and   Hearsay
          materials                     2
                                                          F.R.E. 403: unfair
                                                          prejudice, confusing the
                                                          issues, misleading the
                                                          jury, undue delay,
                                                          wasting time

                                                          Plaintiff Whitehead’s
                                                          case has settled

 D44      Commonwealth v.               Vega-1;           Plaintiff objects to the
          Muhammed and                  McMahon-2 and 3   transcript of the trial
          Commonwealth v. Scott                           from 11/28/2016
          trial transcripts                               pursuant to F.R.E. 403:
                                                          unfair prejudice,
                                                          confusing the issues,
                                                          misleading the jury,
                                                          undue delay, wasting
                                                          time

 D45      Defendant Lawrence            P Krasner-1       Hearsay
          Krasner’s Responses to
          Plaintiff’s Interrogatories                     Plaintiff may use the
          (Set One)                                       Responses to prove

                                         32
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Exhibit          Description                 Bates           Objection(s)
 No.

                                                       admissions or for
                                                       purposes of
                                                       impeachment but it is
                                                       improper for a party (or
                                                       agent of a party) to offer
                                                       into evidence their own
                                                       discovery responses.

                                                       F.R.E. 403: unfair
                                                       prejudice, confusing the
                                                       issues, misleading the
                                                       jury, undue delay,
                                                       wasting time

 D47      Philadelphia District        City 0116-123   Authenticity
          Attorney’s Office Anti-
          Harassment Policy 2018                       Hearsay

                                                       F.R.E. 403: unfair
                                                       prejudice, confusing the
                                                       issues, misleading the
                                                       jury, undue delay,
                                                       wasting time

 D48      List of 2016 Holidays and    City 0334-338   Authenticity
          Anti-Harassment Policy
                                                       Hearsay

                                                       F.R.E. 403: unfair
                                                       prejudice, confusing the
                                                       issues, misleading the
                                                       jury, undue delay,
                                                       wasting time

 D49      Michael Giampietro                           Hearsay
          deposition transcript
                                                       Non-compliance with
                                                       Fed.R.Civ.P. 32

D50,      Lawrence Krasner                             Hearsay
D50A      deposition transcripts and
          videotape of deposition                      Non-compliance with
                                                       Fed.R.Civ.P. 32

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Exhibit          Description                 Bates        Objection(s)
 No.

 D51      Jack McMahon deposition                    Hearsay
          transcript
                                                     Non-compliance with
                                                     Fed.R.Civ.P. 32

 D52      Rachel Mitchell deposition                 Hearsay
          transcript
                                                     Non-compliance with
                                                     Fed.R.Civ.P. 32

 D53      Arun Prabhakaran                           Hearsay
          deposition transcript
                                                     Non-compliance with
                                                     Fed.R.Civ.P. 32

D54       Carlos Vega deposition                     Hearsay
D54A      transcript and videotape of
          deposition                                 Non-compliance with
                                                     Fed.R.Civ.P. 32

 D55      Anthony Voci deposition                    Hearsay
          transcript
                                                     Non-compliance with
                                                     Fed.R.Civ.P. 32

 D56      Joseph Whitehead                           Hearsay
          deposition transcript
                                                     Non-compliance with
                                                     Fed.R.Civ.P. 32

 D57      Jennifer Selber deposition                 Hearsay
          transcript
                                                     Non-compliance with
                                                     Fed.R.Civ.P. 32

 D58      Brian Zarallo deposition                   Hearsay
          transcript
                                                     Non-compliance with
                                                     Fed.R.Civ.P. 32

 D59      R. Mitchell declaration                    Hearsay
          with exhibits


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Exhibit          Description               Bates        Objection(s)
 No.

                                                   F.R.E. 403: unfair
                                                   prejudice, confusing the
                                                   issues, misleading the
                                                   jury, undue delay,
                                                   wasting time

                                                   Other than for purposes
                                                   of cross-examination or
                                                   impeachment, the
                                                   declaration has no
                                                   independent evidentiary
                                                   value

 D60      C. Lightsey declaration                  Hearsay
          with exhibits
                                                   F.R.E. 403: unfair
                                                   prejudice, confusing the
                                                   issues, misleading the
                                                   jury, undue delay,
                                                   wasting time

                                                   Other than for purposes
                                                   of cross-examination or
                                                   impeachment, the
                                                   declaration has no
                                                   independent evidentiary
                                                   value.

                                                   Plaintiff Whitehead’s
                                                   case has settled

 D61      January 13, 2018 Article:                Authenticity
          “DA Krasner Promise
          Change, His First Full                   Hearsay
          Week Showed He Meant
          It”                                      F.R.E. 403: unfair
                                                   prejudice, confusing the
                                                   issues, misleading the
                                                   jury, undue delay,
                                                   wasting time

                                                   The Court’s ruling on
                                                   Plaintiff’s Motion in

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Exhibit          Description                Bates         Objection(s)
 No.

                                                    Limine precludes the
                                                    admission of this article
                                                    or evidence pertaining
                                                    to it

 D62      Krasner Campaign                          Authenticity
          Platform as of May 16,
          2017, created using the                   Hearsay
          Wayback Machine
                                                    F.R.E. 403: unfair
                                                    prejudice, confusing the
                                                    issues, misleading the
                                                    jury, undue delay,
                                                    wasting time

 D63      Krasner Campaign                          Authenticity
          Platform as of October 13,
          2017, created using the                   Hearsay
          Wayback Machine
                                                    F.R.E. 403: unfair
                                                    prejudice, confusing the
                                                    issues, misleading the
                                                    jury, undue delay,
                                                    wasting time

 D64      Krasner Campaign                          Authenticity
          Platform as of December
          12, 2017, created using                   Hearsay
          the Wayback Machine
                                                    F.R.E. 403: unfair
                                                    prejudice, confusing the
                                                    issues, misleading the
                                                    jury, undue delay,
                                                    wasting time

 D65      February 29, 2016 Inquirer                Authenticity
          Article
                                                    Hearsay

                                                    F.R.E. 403: unfair
                                                    prejudice, confusing the
                                                    issues, misleading the


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Exhibit          Description                 Bates        Objection(s)
 No.

                                                     jury, undue delay,
                                                     wasting time

 D66      March 2, 2015 Rolling                      Authenticity
          Stone Article (with update)
                                                     Hearsay

                                                     F.R.E. 403: unfair
                                                     prejudice, confusing the
                                                     issues, misleading the
                                                     jury, undue delay,
                                                     wasting time

 D67      August 12, 2016 Inquirer                   Authenticity
          Article
                                                     Hearsay

                                                     F.R.E. 403: unfair
                                                     prejudice, confusing the
                                                     issues, misleading the
                                                     jury, undue delay,
                                                     wasting time

 D68      August 23, 2016 Inquirer                   Authenticity
          Article
                                                     Hearsay

                                                     F.R.E. 403: unfair
                                                     prejudice, confusing the
                                                     issues, misleading the
                                                     jury, undue delay,
                                                     wasting time

 D69      August 29, 2016 Rolling                    Authenticity
          Stone Article
                                                     Hearsay

                                                     F.R.E. 403: unfair
                                                     prejudice, confusing the
                                                     issues, misleading the
                                                     jury, undue delay,
                                                     wasting time


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  Exhibit            Description                   Bates                Objection(s)
   No.

       D70    Complaint in Vega v. King,                          F.R.E. 403: unfair
              Philadelphia Court of                               prejudice, confusing the
              Common Pleas Case No.                               issues, misleading the
              210500305                                           jury, undue delay,
                                                                  wasting time


VII.     OBJECTIONS TO OTHER EVIDENCE INCLUDING LAY WITNESS OPINION
         TESTIMONY THAT MAY BE PRESENTED BY DEFENDANT AT TRIAL

         1.   For the reasons set forth in Plaintiff’s Motion in Limine (Doc. 77), Plaintiff

objects to the introduction of evidence pertaining to his participation, involvement or

conduct as a prosecutor in any specific case other than Scott/Muhammed, as a reason

for the termination of his employment.

         2.   For the reasons set forth in Plaintiff’s Motion in Limine (Doc. 79), Plaintiff

objects to the introduction of evidence related to statements made by him or Mr.

Krasner during or in connection with their campaigns relating to the 2021 Democratic

primary election for Philadelphia District Attorney.

         3.   For the reasons set forth in Plaintiff’s Motion in Limine (Doc. 79), Plaintiff

objects to the introduction of evidence pertaining to the lawsuit Plaintiff filed in May 2021

in State Court in Philadelphia, captioned Vega v. King.

         4.   For the reasons set forth in the Court’s Order granting Plaintiff’s Motion in

Limine (Doc. 99), Plaintiff objects to testimony, including lay opinion testimony, from

Jack McMahon.

         5.   Based on the Court’s ruling which granted Plaintiff’s Motion in Limine with

regard to the testimony of Jack McMahon (Doc. 99), Plaintiff objects to testimony,

including lay opinion testimony, from Anthony Voci.

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VIII.   DEPOSITION TESTIMONY WHICH MAY BE READ (OR PLAYED) BY
        PLAINTIFF PURSUANT TO FED.R.CIV.P. 32

        Plaintiff may read (or play the video of) the following parts of the deposition of

Lawrence Krasner taken on September 16, 2020:

             From Page/Line           To Page/Line          Corresponding
                                                          Exhibit to be Moved
                                                            into Evidence
           198:6                    198:10

           199:19                   200:1

           312:23                   313:7

           544:17                   546:24                P-1; Mitchell-9

           551:1                    554:24                P-10; Mitchell-10

           561:16                   562:23                P-2; Mitchell 11

           567:22                   569:9                 P-6; Whitehead 011-
                                                          020


        Plaintiff may read the following parts of the deposition of Rachel Mitchell taken on

August 28, 2020:

             From Page/Line           To Page/Line          Corresponding
                                                          Exhibit to be Moved
                                                            into Evidence
           50:8                     50:10

           51:16                    52:23

           54:7                     54:21

           56:24                    58:6

           68:11                    68:15

           74:8                     74:11



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              From Page/Line           To Page/Line          Corresponding
                                                           Exhibit to be Moved
                                                             into Evidence
            89:2                    89:17

            90:21                   92:14

            94:8                    94:15

            162:14                  163:5

            168:11                  169:21

            171:19                  172:14

            181:15                  183:16                 P-16 and P-17;
                                                           Mitchell-4

            195:25                  196:12

            199:19                  201:3



         As noted above, in lieu of (or in addition to) reading parts of the depositions of

Mr. Krasner and Ms. Mitchell, Plaintiff reserves the right to call them as witnesses at

trial.




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IX.    ESTIMATE OF TRIAL TIME

       5 to 7 days.



 SIDKOFF, PINCUS & GREEN, P.C.           SIDNEY L. GOLD & ASSOCIATES, P.C.

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 Attorneys for Plaintiff, Carlos Vega

Date: October 31, 2022




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               IN THE UNITED STATES DISTRICT COURT FOR THE
                    EASTERN DISTRICT OF PENNSYLVANIA


CARLOS VEGA                                  :         CIVIL ACTION
                                             :
                                  Plaintiff, :         NO. 19-4039
                     v.                      :
                                             :         JURY TRIAL DEMANDED
CITY OF PHILADELPHIA                         :
                                  Defendant. :

                             CERTIFICATE OF SERVICE

      I, Robert A. Davitch, hereby certify that Plaintiff Carlos Vega’s Updated Pretrial

Memorandum has been served via electronic service of the Court, and is available for

viewing and downloading on the Court’s ECF system.



                                                /s/ Robert A. Davitch
                                                ROBERT A. DAVITCH
                                                Attorney for Plaintiff Carlos Vega

Date: October 31, 2022
